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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Shuffle Tech International, LLC,
Aces Up Gaming, Inc.,
    and
Poydras-Talrick Holdings LLC,

                          Plaintiffs,                   Civil Action No. 1:15-cv-3702

           v.                                           Honorable Matthew F. Kennelly

Scientific Games Corporation,
Bally Technologies, Inc., d/b/a SHFL
Entertainment or Shuffle Master,
    and
Bally Gaming, Inc., d/b/a Bally Gaming and
Systems,
                          Defendants.



                                        FINAL PRETRIAL ORDER

          Pursuant to the Court’s rules, the document entitled “Preparation of Final Pretrial

  Order for Civil Cases Before Judge Kennelly” (Revised 3/2015), and the Court’s March 19,

  2018 Minute Order entered in this case, the following Final Pretrial Order contains each of the

  applicable categories of materials identified in the Court’s “Preparation of Final Pretrial Order

  for Civil Cases Before Judge Kennelly,” namely:

                1. A concise statement of the basis for federal subject matter jurisdiction,
                   and if jurisdiction is disputed, the nature and basis of the dispute (see
                   Attachment 1);

                2. A concise statement of the claims of the Plaintiffs, defenses of the
                   Defendants, and any counterclaims and cross claims (see Attachment
                   2);

                3. An itemization of damages and other relief sought (see Attachment 3);



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           4. A list of witnesses who may or will be called either live or by
              deposition, and all objections thereto, as well as a list of all deposition
              designations (by page and line), counter-designations (by page and
              line), a concise statement of objections thereto (including the bases for
              the objections), and a concise statement of the asserted basis of
              admissibility; except that each party reserves the right to call such
              rebuttal witnesses (who are not presently identifiable) as may be
              necessary (see Attachments 4, 4A, 4B);

           5. A schedule of all exhibits that each side intends to enter into evidence
              (as well as any demonstrative exhibits or evidence), identified by trial
              exhibit number, with a brief description of each exhibit; and all
              objections thereto (see Attachments 5, 5A, 5B);

           6. A statement confirming that this is a jury trial and an estimate of the
              length of trial (see Attachment 6);

           7. Proposed voir dire questions (see Attachment 7; and

           8. A listing of agreed jury instructions and disputed jury instructions
              (including supporting authority for disputed instructions and objections
              thereto), as well as a flash drive containing the proposed jury
              instructions in Microsoft Word format (see Attachments 8, 8A, 8B, 8C).

       In addition, Defendants’ proposed “Glossary of Patent Terminology” is provided as

Attachment 9; Defendants’ proposed “Glossary of Gaming Terminology” is provided as

Attachment 10; and Defendants’ proposed “Glossary of Economic Terminology” is provided

as Attachment 11.

       As the parties advised the Court’s minute clerk on Monday, April 23, 2018, counsel for

the parties, including lead counsel for each side, engaged in a day-long, in-person conference

on Friday, April 20, 2018 to attempt to resolve disagreements in the pretrial order materials.

The parties were able to make meaningful progress on agreeing to jury instructions, and some

progress on objections to deposition designations and exhibits. However, many of the

objections to exhibits and deposition designations flow from positions that the parties have

taken in their pending motions in limine. The parties believe that they will be able to make

considerable additional progress once those motions have been resolved. Consequently, the



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  parties respectfully request that the Court refrain from any detailed review of objections on

  exhibits or deposition designations at this time in order to conserve the resources of the Court.

  The parties believe they will likely be able to considerably narrow their objections if they have

  an additional opportunity to confer after any rulings the Court makes on the pending motions

  in limine.

         This Order will control the course of the trial and may not be amended except by

  consent of the parties, or by order of the Court to prevent manifest injustice.




Dated: April 25, 2018                             Respectfully submitted,



By                                                By
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SO ORDERED:

                                            MATTHEW F. KENNELLY
Date: _______________________               United States District Judge




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